Case [CERTIFIED
      3:21-cv-01350-MEL
                TRANSLATION] Document 1-3 Filed 07/30/21 Page 1 of 37

                    SJ2021CV03293 05/28/2021 08:07:58 pm Entry No. 1 Page 1 of 34




                                 COMMONWEALTH OF PUERTO RICO
                                     COURT OF FIRST INSTANCE
                                  SUPERIOR COURT, SAN JUAN PART




                   DAVID FIGUEROA

                          Petitioner                                       CIVIL CASE NO:

                               v.
         BOARD OF HOMEOWNERS OF THE
              EXECUTIVE TOWER
            CONDOMINIUM, BANCO
             COOPERATIVO DE P.R.,                              IN RE: DAMAGES; PETITION FOR
               JOHN DOES 1–100                                            ORDER;
                        Respondents




                     PETITION FOR ORDER OF PERMANENT INJUNCTION
                             (request for preliminary injunction not included)

     TO THE HONORABLE COURT:

             Comes now the petitioner, David Figueroa (hereinafter the “Petitioner” or

     “Figueroa”), through the undersigned legal counsel, and requests a permanent injunction

     pursuant to 42 U.S.C. § 12188 due to the failure by (i) BOARD OF HOMEOWNERS OF

     THE EXECUTIVE TOWER CONDOMINIUM, (ii) BANCO COOPERATIVO DE

     P.R., and John Does 1–100 (hereinafter, the “Respondent”) to comply with the provisions

     of Title III of the federal Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

     (hereinafter, the “ADA”)1 and violations to Section 504 of the Rehabilitation Act, 29

     U.S.C. § 794. A permanent




     1
      The obligations of Title III of the ADA extend to all private entities and commercial facilities that provide
     services to the public. The obligation imposed by Title III consists of not discriminating in the offering of
     said services against persons with disabilities in the equal and full enjoyment of the goods, services and
     facilities, privileges, advantages, or accommodations in any place of public accommodation. The official
     link provided by the U.S. Government with information about Title II/III of the ADA is:
     http://www.ada.gov/


                                                         1
Case [CERTIFIED
      3:21-cv-01350-MEL
                TRANSLATION] Document 1-3 Filed 07/30/21 Page 2 of 37

                     SJ2021CV03293 05/28/2021 08:07:58 pm Entry No. 1 Page 2 of 34




     injunction, nominal damages2, compensatory damages, and other remedies are sought

     under Section 504 of the Rehabilitation Act, 29 U.S.C. § 794.

                     THE PLACE OF PUBLIC ACCOMMODATION AT ISSUE

     1.        This action seeks to remedy the unlawful discrimination that is taking place in an

             established and known place of public accommodation3 in the location that is

                                                mentioned below:

                      THE EXECUTIVE TOWER CONDOMINIUM
            ADDRESS: 623 AVENIDA DE LA CONSTITUCIÓN, SAN JUAN, 00918,
                                  PUERTO RICO
          APPROXIMATE COORDINATES: 18.412531530609616, -66.054206671164


          (we will hereinafter refer to this place as the “Property” or the “place of public

     accommodation”).

                                         NEED FOR THIS ACTION

     2.       This Petition for Permanent Injunction is necessary for the following reasons:

              a) The Respondent did not procure the elimination of architectural barriers;

               b) The Respondents have architectural barriers in the place of public

                  accommodation in violation of the ADA and the Accessible Design Guidelines

                  established by the U.S. Department of Justice, which




     2
      Nominal damages are sought pursuant to the judgement of the United States Supreme Court on March
     8, 2021 in Uzuegbunam v. Preczewski, Uzuegbunam v. Preczewski, 592 U.S. ____ (2021), 2021 WL
     8501016 (March 8, 2021).

     3
       The term “public accommodation” or “place of public accommodation”, 42 U.S.C. 12181(7), is defined
     as any private entity the operations of which affect commerce, and the following places are specifically
     mentioned as examples of places of public accommodation: hotels, motels, inns, restaurants, bars, other
     establishments serving food or drinks, motion picture houses, theaters, concert halls, stadiums, places of
     exhibition or entertainment, auditoriums, convention centers, lecture halls, places of public gathering,
     bakeries, grocery stores, clothing stores, hardware stores, shopping centers, other sales or rental
     establishments, laundromats, dry-cleaners, banks, barber shops, beauty shops, travel services, shoe repair
     services, funeral parlors, gas stations, offices of accountants or lawyers, pharmacies, insurance offices,
     professional offices of health care providers, hospitals, other service establishments, public transportation
     terminals, museums, libraries, galleries, other places of public display or collection, parks, zoos,
     amusement parks, other places of recreation, nursery schools, elementary, secondary, graduate or
     postgraduate private schools, universities, other places of education, day care centers, senior citizen
     centers, homeless shelters, food banks, adoption agencies, other social service center establishments,
     gymnasiums, health spas, bowling alleys, golf courses, and other places of exercise or recreation.


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Case [CERTIFIED
      3:21-cv-01350-MEL
                TRANSLATION] Document 1-3 Filed 07/30/21 Page 3 of 37

                  SJ2021CV03293 05/28/2021 08:07:58 pm Entry No. 1 Page 3 of 34




               may      be     accessed      through      the     following     official    link:

               https://www.ada.gov/2010ADAstandards_index.htm

            c) The Petitioner visited the place of public accommodation and personally

               encountered architectural barriers related to his disability.

            d) The Petitioner (i) is at imminent risk of encountering the architectural barriers

               and (ii) it would be futile for him to return to the place of public accommodation

               at this time, since it would entail a risk to his personal safety or would be

               equivalent to submitting himself to an unpleasant, humiliating, and

               discriminatory condition or situation.

            e) The Petitioner’s intention at this time is to be able to enjoy the goods,

               privileges, [and] services that are available at the place of public

               accommodation once all of the architectural barriers are completely removed.

               However, the Petitioner reserves the right to return to the place of public

               accommodation at any time before the architectural barriers are removed, even

               if it might entail submitting himself to dangerous or discriminatory conditions,

               in order to seek out, identify, and denounce the discrimination.

                                        THE PETITIONER

     3.     The Petitioner is a person with a physical or mental disability that substantially

     limits several of his main daily activities. The physical disability is: quadriplegia or

     tetraplegia (a lesion to the spinal cord in which the patient may suffer paralysis.) These

     conditions or “impairments” substantially limit Mr. Figueroa. This physical disability

     substantially limits (in comparison with the majority of the population) at least one of the

     following daily activities: walking, standing, running, jumping, dancing, lifting objects,

     bending, and all activities




                                                 3
Case [CERTIFIED
      3:21-cv-01350-MEL
                TRANSLATION] Document 1-3 Filed 07/30/21 Page 4 of 37

                     SJ2021CV03293 05/28/2021 08:07:58 pm Entry No. 1 Page 4 of 34




     related to the abovementioned disability.

     4.     The Petitioner has a “disability” as defined by the ADA. 42 U.S.C. § 12102(l)(A).

     5.     As mentioned before, the Department of Transportation and Public Works of the

     Government of Puerto Rico (DTOP, Spanish acronym) has issued Mr. Figueroa a

     removable sign indicating that he is a disabled person, so that the Petitioner may use it to

     park in spaces identified as accessible or “for persons with disabilities”. The removable

     sign is not required to be used in a specific vehicle and it does not have to be used in a

     motor vehicle registered in the Petitioner’s name. The Petitioner has the right to use the

     removable sign issued by the DTOP in any vehicle, whether the vehicle belongs to him,

     a family member, or a friend, or in a vehicle in which he simply happens to be riding.

     The Petitioner has the legal right to use parking spaces designated as accessible or “for

     persons with disabilities” in this jurisdiction, regardless of the motor vehicle in which he

     is traveling.

                                          THE RESPONDENTS

     6.     The Respondents are the following natural persons or legal entities:

              i.     BOARD OF HOMEOWNERS OF THE EXECUTIVE TOWER

                     CONDOMINIUM: This legal entity is the owner, lessor, lessee, or operator

                     of the Property that is identified in the first paragraph of this Petition.

             ii.     BANCO COOPERATIVO DE P.R.: This legal entity is the owner, lessor,

                     lessee, or operator of the Property that is identified in the first paragraph of

                     this Petition.

            iii.     John Does 1-100: These unknown natural or legal persons are owners,

                     lessors, lessees, or operators of the Property




                                                    4
Case [CERTIFIED
      3:21-cv-01350-MEL
                TRANSLATION] Document 1-3 Filed 07/30/21 Page 5 of 37

                  SJ2021CV03293 05/28/2021 08:07:58 pm Entry No. 1 Page 5 of 34




                  that is identified in the first paragraph of this Petition. Since their identity is

                  unknown at this time, the Petition will be amended to include them in this

                  civil suit. In this Petition, the term “Petitioner” [sic] also includes all the

                  unknown respondents identified with the fictitious name “John Does 1-

                  100”.

                              JURISDICTION AND COMPETENCE

     9.     In the event that this civil suit were removed to the United States District Court, in

     rem jurisdiction is invoked pursuant to 28 U.S.C. §§ 1331 and 1343 (a)(3) and (a)(4) for

     violations of the ADA.

     10.    The Court of First Instance has original jurisdiction to rule on disputes that arise

     under Title III of the Americans with Disabilities Act and the Rehabilitation Act.

     11.    This civil action has been filed before the judicial forum with competence,

     inasmuch as the Property in controversy is located in this judicial region.

                                               FACTS

     12.    The Property is a place of public accommodation, as defined by the ADA, 42

     U.S.C. 12181(7) and it is a place that is open to the public, the operation of which affects

     commerce. The Property is not residential in nature, it is not a private club, and it is not a

     church.

     13.    The Petitioner is a resident of Puerto Rico. His address is: Carr 853 km 7.8 Bo.

     Barrazas Carolina, Puerto Rico. Postal address: HC2 BOX 14800 CAROLINA, PR

     00987. Telephone: (787) 980-7793.

     14.    The Petitioner visited the Property on or around May 20, 2021, and found barriers

     that interfered with his ability to use and enjoy the goods, services, privileges, and

     accommodations offered at the Property.

     15.    Additionally, and separately from the above, the Petitioner




                                                 5
Case [CERTIFIED
      3:21-cv-01350-MEL
                TRANSLATION] Document 1-3 Filed 07/30/21 Page 6 of 37

                  SJ2021CV03293 05/28/2021 08:07:58 pm Entry No. 1 Page 6 of 34




     invokes standing as a person who intends to return to the Property expressly to seek out

     and identify any architectural barriers existing in the Property in the future. He intends to

     seek out and identify any architectural barriers in order to: (1) denounce additional

     barriers that may be found in the future; (2) check for compliance with or violations of

     any order that the court may issue regarding the elimination of architectural barriers. It is

     affirmatively alleged that [the Petitioner has] standing as a civil rights tester, as alleged

     in this paragraph, in accordance with the binding precedent in this jurisdiction established

     in Suarez-Torres v. Panadería y Repostería España, Inc., No. 18-1618 (1st Cir. Feb. 17,

     2021), where it was established that it is not necessary for a person with disabilities to be

     a “bona fide client or customer” of the place of public accommodation to have standing

     to claim rights under the ADA. A civil rights tester is a person who has the specific

     intention to seek out, identify, and denounce discrimination, even if it entails submitting

     to said discrimination or to unsafe conditions. In Suarez-Torres v. Panadería y Repostería

     España, Inc., the First Circuit unequivocally established the existence of standing as a

     tester by ruling that:

           Panadería España contends that, as testers, appellants are unable to establish an
           injury because their only motivation in visiting the bakery was to detect ADA
           violations.

           We have not previously addressed the impact of a plaintiffs status as a "tester" on
           her ability to establish standing under the ADA. However, the circuits that have
           considered this issue have uniformly concluded that an individual's "tester" status
           does not defeat standing. As the Eleventh Circuit explained in Houston v. Marod
           Supermarkets, Inc., the ADA guarantees the right of any individual to be free from
           "disability discrimination in the enjoyment of [public places of accommodation]
           regardless of [the individual's] motive for visiting the facility." 733 F.3d at 1332.
           Congress did not limit the protections of the ADA to "clients or customers" or
           otherwise impose a bona fide visitor requirement. Id. at 1332-34 (contrasting 42
           U.S.C. §§ 3604(a), and 12182(b)(T)(A)(iv), which do contain such requirements).
           Hence, such limitations should not be read into the ADA. Id. We agree with this
           analysis. Accordingly, we conclude that appellants' status as testers does not defeat
           standing.




                                                 6
Case [CERTIFIED
      3:21-cv-01350-MEL
                TRANSLATION] Document 1-3 Filed 07/30/21 Page 7 of 37

                  SJ2021CV03293 05/28/2021 08:07:58 pm Entry No. 1 Page 7 of 34




     Suarez-Torres v. Panadería v Repostería España. Inc,. No. 18-1618 (1st Cir. Feb. 17,

     2021) (internal citations omitted)(emphasis ours).

     16.    This petition incorporates and adopts APPENDIX A, a supplementary allegation

     resulting from an investigation conducted by Mr. Figueroa during his last visit to the

     Property. The images presented below illustrate the historical condition of the facilities

     of the Executive Tower Condominium in a brief cause–effect relation.

     17.    This petition incorporates and adopts APPENDIX B, a supplementary allegation

     resulting from an investigation conducted by Mr. Figueroa during his last visit to the

     Property. The images presented below illustrate the historical condition of the facilities

     of the Executive Tower Condominium in a brief cause–effect relation.

     18.    This petition incorporates and adopts APPENDIX C, a supplementary allegation

     which includes an official document issued by the Puerto Rico Department of

     Transportation and Public Works (DTOP), which serves as evidence that Mr. Figueroa is

     a beneficiary of the privileges afforded to people with a disability for the purposes of

     parking, discounts, express checkout lines for the disabled, among others.

     19.    In his capacity as a bona fide customer, the Petitioner has felt, and to this day

     continues to feel, dissuaded or discouraged from visiting the Property because he is aware

     that there are unlawful barriers that limit and interfere with his access to same. The

     Petitioner knows that it would be useless to face these barriers because facing them

     implies submitting himself to a humiliating, discriminatory, and dangerous situation. All

     the barriers described herein are directly related to the Petitioner’s disability and interfere

     with his full and equal access. However, despite feeling dissuaded, he intends to return in

     order to seek out, identify, and denounce the discrimination that exists at said Property.




                                                  7
Case [CERTIFIED
      3:21-cv-01350-MEL
                TRANSLATION] Document 1-3 Filed 07/30/21 Page 8 of 37

                   SJ2021CV03293 05/28/2021 08:07:58 pm Entry No. 1 Page 8 of 34




     20.    Based on his personal observations, and based on his experience as a person with

     limitations who has seen hundreds of accessible and inaccessible places throughout his

     lifetime, the Petitioner affirmatively alleges that the following architectural design

     barriers related to his disability and mobility limitations are in place at the Property:

                                  Parking. Access Route and Entrance

              a.    Regarding the access route, there is no access route from the parking spaces

                    or the sidewalk to an accessible entrance without steps. ADAAG 1991 §

                    4.3; ADAAG 2010 § 206.2.1. Possible solutions: add a ramp; modify the

                    slope so it is 1:20; add a platform lift.

              b.    Regarding parking spaces, the required number of accessible parking spaces

                    are not available. ADAAG 1991 § 4.1.2; ADAAG 2010 § 208.2. Possible

                    solution: reconfiguring the parking lot using paint.

              c.    The parking lot does not receive proper maintenance in order to be kept in

                    “operable condition”, in violation of 28 C.F.R. § 36.211(a). For example,

                    the parking area has been maintained poorly and inconsistently, and not in

                    compliance with the applicable standards.

              d.    Regarding parking spaces, the requirement that at least one parking space

                    meet the technical specifications and dimensions of the “van” category is

                    not met.4 ADAAG 1991 §4.1.2 (b); ADAAG 2010 § 208.2. The requirement

                    that




     4
      Neither the ADAAG nor state legislation require that a person with disabilities have a van or truck in
     order to park in said parking spaces classified by the ADAAG as “Van” spaces. There must be, and there
     is a right to use, all the accessible parking spaces required by the ADAAG.


                                                      8
Case [CERTIFIED
      3:21-cv-01350-MEL
                TRANSLATION] Document 1-3 Filed 07/30/21 Page 9 of 37

               SJ2021CV03293 05/28/2021 08:07:58 pm Entry No. 1 Page 9 of 34




               one sixth of the accessible parking spaces have the “van” category

               dimensions is also not met. Id. Possible solution: reconfiguring the parking

               lot using paint.

          e.   The configuration and dimensions of the parking spaces is substantially

               inconsistent with the requirements of the applicable standards. ADAAG

               2010 § 502.2, 502.3. Possible solutions: reconfiguring the parking lot using

               paint.

          f.   The configuration and dimensions of the spaces adjacent to the parking spots

               is substantially inconsistent with the requirements of the applicable

               standards. ADAAG 2010 § 502.2, 502.3., 503.3.3. Possible solutions:

               reconfiguring the parking lot using paint.

          g.   The slope in the parking spaces and the spaces adjacent to the parking spaces

               is inconsistent with the requirements of the applicable standards, since the

               inclination is greater than 1:48 in every direction. ADAAG 2010 § 502.4.

               Possible solutions: level the surfaces; relocate parking spaces in compliance

               with the guidelines for the placement of accessible parking spaces.

          h.   The spaces adjacent to the parking spaces do not connect to an accessible

               route. ADAAG 2010 § 502.3. Possible solutions: reconfiguring the parking

               spaces so that the access aisle connects to the accessible route.

          i.   The parking spaces are not identified with the international accessibility

               symbol. ADAAG 2010 § 502.3. Possible solutions: place all the regulatory

               signage in all the accessible parking spaces. The signage must be placed at

               the height and in the position required by regulation.




                                             9
Case 3:21-cv-01350-MEL
     [CERTIFIED TRANSLATION] Document 1-3 Filed 07/30/21 Page 10 of 37


                SJ2021CV03293 05/28/2021 08:07:58 pm Entry No. 1 Page 10 of 34




           j.   The positioning of the signage of the parking spaces is substantially

                inconsistent with the applicable standards. ADAAG 2010 § 502.6. Possible

                solutions: placing signage at the height and in the position required by

                regulation.

           k.   None of the parking spaces has the “van” signage required by the applicable

                standards. ADAAG 2010 § 502.6. Possible solutions: placing signage in all

                the accessible parking spaces and at the height and in the position required

                by regulation.

           l.   The accessible parking spaces are not located in the closest accessible route

                to the accessible entrance. ADAAG 2010 § 502.6. Possible solution:

                reconfiguring the parking spaces.

          m.    The access route to the accessible entrance from the parking spaces is not

                solid, stable, and tends to be slippery. ADAAG 2010 § 302.1. Possible

                solutions: repair uneven pavement; repair protuberances and holes; replace

                the existing surface with asphalt or other material.

           n.   The access route to the accessible entrance from the parking spaces is not

                36” wide. ADAAG 2010 § 403.5.1. Possible solutions: remove objects that

                make the space smaller; expand the width of the access route

           o.   The access route to the accessible entrance has ramps with a slope that is too

                steep, which is substantially inconsistent with the applicable standards.

                ADAAG 1991 §§ 4.8.1, 4.8.2; ADAAG 2010 §§ 403.3 (cross slope and

                running slope). Possible solution: reconfiguring so that the slope is 1:20.

           p.   The access route has curb ramps with a configuration and dimensions that

                are substantially inconsistent with




                                              10
Case 3:21-cv-01350-MEL
     [CERTIFIED TRANSLATION] Document 1-3 Filed 07/30/21 Page 11 of 37


                SJ2021CV03293 05/28/2021 08:07:58 pm Entry No. 1 Page 11 of 34




                the requirements of the applicable standards. ADAAG 1991 §§ 4.7.1, 4.7.2,

                4.7.2.3, 4.7.4, 4.7.5, 4.7.6, 4.7.9, 4.7.10; ADAAG 2010 §§ 402.2, 406.1,

                405.2, 406.1, 405.3, 405.5, 406.4, 406.3). Possible solutions: modifying the

                ramp and adjusting it to the regulatory requirements.

           q.   Regarding the access route, the route from where it starts at the parking

                spaces to the accessible entrance has sections with an incline greater than

                1:20 (which means that that incline is considered a ramp for purposes of the

                ADAAG), but the existing physical configuration does not comply with the

                requirements applicable to ramps in a manner that is substantially

                inconsistent with the applicable standards. ADAAG 1991 §§ 4.7.1, 4.7.2,

                4.7.2.3, 4.7.4, 4.7.5, 4.7.6, 4.7.9, 4.7.10; ADAAG 2010 § 405.5 (width of

                ramp) 405.4 (unstable ramp surface), 405.2 (ramp incline), 405.7.2, 405.7.3

                (ramp landing), 405.7.4 (60" x 60" space for turning), 405.7.4 (handrail

                required in ramp with elevation greater than 6”), 505.4 (height of ramp rail),

                505.6 (obstructions at the top of the ramp rail); 505.7.1 (diameter of circular

                handrail is not between 1 1/4" and 2"), 505.7.1 (non-circular handrail does

                not have a perimeter between 4" and 6 1/4"), 505.10.1 (handrail does not

                extend 12" beyond top and bottom ramp level). Possible solutions: altering

                the handrail; replacing the handrail; reconfiguring the ramp rail; adjusting

                the height of the ramp rail; installing a ramp rail; increasing the landing

                space or relocating the ramp.

           r.   The entrance does not comply with the applicable regulatory requirements.

                As for the inaccessible entrances, there is no signage on them that indicates

                the location of the accessible entrance. ADAAG 2010 § 216.6 There are

                accessible and inaccessible entrances but the




                                                11
Case 3:21-cv-01350-MEL
     [CERTIFIED TRANSLATION] Document 1-3 Filed 07/30/21 Page 12 of 37


                    SJ2021CV03293 05/28/2021 08:07:58 pm Entry No. 1 Page 12 of 34




                    accessible entrances are not identified by the international accessibility

                    symbol. ADAAG 2010 § 216.6. Possible solutions: make all entrances

                    accessible and/or place the signage required by the applicable standards.

               s.   The entrance door is equipped with parts that cannot be operated with one

                    hand and/or require squeezing, pinching or a twisting of the wrist. ADAAG

                    2010 § 404.2.7. Possible solutions: replace the parts of the entrance door.

                     Access Inside the Property: Access to Goods and Services

               t.   The hallways and common areas of the Property lack a space of at least 36”

                    to allow for adequate mobility inside the Property, which is substantially

                    inconsistent with the applicable standards. ADAAG 2010 § 403.5.1 (see

                    image below). Possible solutions: relocating objects to make room. For its

                    persuasiveness and references to applicable standards, see Lieber v. Macy’s

                    West, Inc., 80 F. Supp. 2d 1065 (N.D. Cal. 1999) (a case that discusses the

                    applicable standards for the placement of merchandise and objects inside

                    the famous Macy’s Union Square store in San Francisco, California.5 The

                    main purpose of the regulations is to ensure available spaces for people with

                    disabilities to have equal opportunity to move throughout the business.)




     5
       The area owes its name to the fact that it was a meeting place in support of the Union Army during the
     Civil War. Today, the plaza is surrounded by department stores and gift stores for locals and the
     thousands of tourists who visit the Bay Area in San Francisco.


                                                       12
Case 3:21-cv-01350-MEL
     [CERTIFIED TRANSLATION] Document 1-3 Filed 07/30/21 Page 13 of 37


                SJ2021CV03293 05/28/2021 08:07:58 pm Entry No. 1 Page 13 of 34




                                Access to Restrooms in the Property

           u.   The inaccessible [sic] restrooms lack the signage required by the applicable

                standards. ADAAG 2010 §216.8, 206.2.4. Possible solutions: placing

                signage at the correct height and position. The signage must also comply

                with the requirements for it to be accessible to persons with visual

                disabilities.

           v.   There is no access route to an accessible restroom. ADAAG 2010 § 206.2.4.

                Possible solutions: establish an unobstructed route to the restroom.

           w.   A restroom is available for a single user at a time, and the door swings

                inwards, but the area next to the toilet does not leave a space of 30” x 48”

                adjacent to the door. ADAAG 2010 § 603.2.3. Possible solutions: modify

                the door so it swings outwards (if this can be done without violating other

                standards); expand the interior of the bathroom; reposition the objects in the

                bathroom; reconfigure the bathroom to maximize the space.

           x.   Regarding the sink, the space around the sink is substantially inconsistent

                with the applicable standards. ADAAG 2010 § 606.2. Possible solutions:

                expanding the space around the sinks; relocating objects that can be moved.

           y.   Regarding the sink, the space under the sink is




                                               13
Case 3:21-cv-01350-MEL
     [CERTIFIED TRANSLATION] Document 1-3 Filed 07/30/21 Page 14 of 37


                SJ2021CV03293 05/28/2021 08:07:58 pm Entry No. 1 Page 14 of 34




                substantially inconsistent with the applicable standards. ADAAG 2010 §

                306.2. Possible solutions: making space under the sinks; repositioning the

                sink; replacing the sink with an accessible sink.

           z.   Regarding the sink, the height of the sink is substantially inconsistent with

                the applicable standards. ADAAG 2010 §§ 606.3, 606.3.3, 306.3.3 (height

                in the space of the foot area). Possible solutions: repositioning the height of

                the sink; replacing the sink.

           aa. Regarding the sink, the bottom part of this sink is not configured to prevent

                contact with the objects under the sink. ADAAG 2010 § 605.5. Possible

                solutions: modifying the area under the sink so that there is no contact

                between legs or knees and the objects under the sink.

           bb. Regarding the sink, the configuration of the faucet does not allow for it to

                be operated without having to push hard, twist, or turn the wrist. ADAAG

                2010 § 606.4. Possible solutions: replacing the faucet.

           cc. Regarding the area of the toilet, the center of the toilet is far away from

                the side wall, which is substantially inconsistent with the applicable

                standards. ADAAG 2010 § 604.2. Posible solutions: relocate the toilet.

           dd. Regarding the area of the toilet, the space provided around the toilet is

                substantially inconsistent with the applicable standards. ADAAG 1991 §

                4.22; ADAAG 2010 § 604.3.1, 604.8.1.1. Possible solutions: expanding the

                restrooms; moving objects to make room.

           ee. Regarding the area of the toilet, the height of the toilet measured from the

                surface is substantially inconsistent with the applicable




                                                14
Case 3:21-cv-01350-MEL
     [CERTIFIED TRANSLATION] Document 1-3 Filed 07/30/21 Page 15 of 37


                  SJ2021CV03293 05/28/2021 08:07:58 pm Entry No. 1 Page 15 of 34




                  standards. ADAAG 2010 § 604.4. Possible solutions: adjusting the toilet

                  height; replacing the toilet.

            ff.   Regarding the area of the toilet, the existing configuration on the wall next

                  to and behind the toilet is substantially inconsistent with the applicable

                  standards. ADAAG 2010 §§ 604.5.1, 609.4., 609.3, 604.5.2, 609.4, 609.6.

            gg. Regarding the toilet, the configuration of the toilet flush control is

                  substantially inconsistent with the applicable standards. ADAAG 2010 §

                  604.6 (height of flush control), 604.6 (location of flush control). Possible

                  solutions: relocating the flush control.

            hh. Regarding the area of the toilet, the positioning of the toilet paper

                  dispensers and of the toilet paper is substantially inconsistent with the

                  applicable standards. ADAAG 2010 §§ 604.7, 604.7, [sic] 604.7 [sic].

                  Possible solutions: reconfiguring the position of the paper and paper

                  dispensers.

            ii.   Regarding the handrail surrounding the toilet, both next to and behind the

                  toilets, the existing configuration of the side grab bar and the rear grab bar

                  is substantially inconsistent with the standards applicable to handrails.

                  ADAAG 2010 §§ 604.5.1, 609.4., 609.3, 604.5.2, 609.4, 609.6. Possible

                  solutions: placing and positioning handrails to be consistent with the

                  referenced standards.

     21.   The barriers identified in the preceding paragraph are merely those of which the

     Petitioner is personally aware of, based on his experience and common sense as a person

     with disabilities, not based on scientific or expert evidence. All of the barriers in the

     Property, including those that were found and




                                                  15
Case 3:21-cv-01350-MEL
     [CERTIFIED TRANSLATION] Document 1-3 Filed 07/30/21 Page 16 of 37


                   SJ2021CV03293 05/28/2021 08:07:58 pm Entry No. 1 Page 16 of 34




     others that have yet to be found as of this time, are the cause of the Petitioner's legal

     damages; that is, the lack of full, free, and spontaneous access to the Property. Thus, it is

     the intention of the Petitioner to use discovery mechanisms to seek out, identify, and point

     out all architectural barriers related to the Petitioner's disability, so that there may be full

     and equal access to the Property. After identifying the barriers, the Petitioner intends to

     ask the Court to amend the allegations in order to adapt them to the discovered evidence

     related to the ADAAG violations that are yet unknown.

     22.      The Petitioner has been discouraged, and is currently discouraged, from visiting

     the Property because he knows that the goods, services, accommodations, privileges,

     advantages, and facilities of the Property cannot be accessed without the Petitioner once

     again facing discrimination. The Petitioner is aware of the goods and services offered at

     the Property and will return to the Property once the barriers are eliminated.

     23.      The Respondents knew, or should have known, that the Property was and is

     inaccessible; that the conditions of the Property violate federal law and interfere with (or

     deny) access by persons with disabilities. Additionally, the Respondents have the

     financial resources to eliminate these barriers from the Property (without much difficulty

     or expense), and to make the Property accessible to the Petitioner. To date, however, the

     Respondents refuse to eliminate said barrier.

     24.      The Respondents have had and enjoyed enough control and authority to modify

     the Property to eliminate barriers and comply with the applicable federal regulations. The

     Respondents have not eliminated said barriers and have not modified the Property to

     comply with the applicable accessibility standards. The Respondents have intentionally

     kept the Property in its current state and intentionally refrained from altering the Property

     for it




                                                  16
Case 3:21-cv-01350-MEL
     [CERTIFIED TRANSLATION] Document 1-3 Filed 07/30/21 Page 17 of 37


                 SJ2021CV03293 05/28/2021 08:07:58 pm Entry No. 1 Page 17 of 34




     to comply with the accessibility standards.

     25.    The Petitioner affirmatively alleges that the continuous presence of barriers at the

     Property is so obvious and open that it reflects the discriminatory intent of the

     Respondents. The nature of the deviations from the federal standards do not suggest a

     failure to comply with the regulations due to mere negligence or human error. The

     existing noncompliance is so substantial that it is obvious to a casual observer of average

     intelligence with no expertise regarding the accessible design standards or without

     experience with architectural barriers because he or she does not have a disability. This

     is why the Petitioner believes, and therefore affirmatively alleges, that the discriminatory

     intention includes a conscious and pondered refusal to adhere to relevant construction

     standards; contempt towards the construction plans and permits issued for the Property;

     a conscious decision to maintain the architectural design (as it currently stands) at the

     Property, [and] the decision to not eliminate the architectural barriers [and] to keep the

     Property in a state of noncompliance driven by profit. It is affirmatively alleged that The

     Respondents have sought to engage in unfair competition with their competitors by not

     investing money in complying with the federal mandate, even though their competitors

     do have to invest in compliance, which affects other financial factors. The architectural

     barriers at the Property are not isolated (or temporary) interruptions in access due to

     maintenance or repair work.

     26.    Based on the Respondents’ historical noncompliance with the ADAAG, the

     Petitioner believes, and therefore alleges, that the Respondents have no internal policies,

     procedures, or documents related to efforts to ensure compliance with the ADA at the

     Property.




                                                17
Case 3:21-cv-01350-MEL
     [CERTIFIED TRANSLATION] Document 1-3 Filed 07/30/21 Page 18 of 37


              SJ2021CV03293 05/28/2021 08:07:58 pm Entry No. 1 Page 18 of 34




                              FIRST CAUSE OF ACTION
                           Americans with Disabilities Act of 1990

     27.    The Petitioner herein incorporates the allegations contained in the preceding

            paragraphs.

     28.    Title III of the ADA essentially provides that no individual shall be treated

            unequally for reason of disability in the full and equal enjoyment (or use) of

            goods, services, facilities, privileges, and accommodations offered by any

            person who is an owner, lessor, lessee, or operator of a place of public

            accommodation. 42 U.S.C. § 12182 (a).

     29.    The Respondents discriminated against the Petitioner by denying him the full

            and equal enjoyment of and access to the goods, services, privileges, and

            accommodations of the Property during each visit and each time that the

            Petitioner decided not to visit the place.

     30.    The ADA sets forth different standards depending on when the physical

            structure was built and whether the facility has been altered since January 26,

            1992. 28 CFR §§ 36.401, 36.402. Properties “existing” prior to January 26,

            1992, must eliminate barriers that prevent access by persons with disabilities

            when the elimination of same is “readily achievable”. 42 LJ.S.C. § 12182 (b)

            (2) (A) (iv); 28 CFR § 36.304. Structures designed and built to be occupied for

            the first time after January 26, 1993 must be accessible to persons with

            disabilities, unless the entity is able to show that it is “structurally

            impracticable”. 42 USC § 12183 (a). Finally, alterations after January 26, 1992,

            must be made to ensure that, to the “maximum extent feasible”, the altered

            portions of the facilities are




                                              18
Case 3:21-cv-01350-MEL
     [CERTIFIED TRANSLATION] Document 1-3 Filed 07/30/21 Page 19 of 37


              SJ2021CV03293 05/28/2021 08:07:58 pm Entry No. 1 Page 19 of 34




            accessible. 28 CFR §36.402 (a) (l).

     31.    The design standards, ADAAG, were first published in 1991 and are codified

            in 28 CFR Part 36, Appendix A (“1991 ADAAG”). The most recent ADA

            design standards were first published in 2010 and codified in 28 CFR Part 36,

            Subpart D (“2010 ADAAG”). Both standards can be found at www.ada.gov.

            All new constructions and modifications begun on or after March 15, 2012,

            must comply with the 2010 ADAAG.

     32.    The Petitioner believes that the Property was designed to be occupied for the

            first time after January 26, 1993. See 28 CFR § 36.401.

     33.    The Petitioner believes that the Property is located in a place that was built after

            January 26, 1993. See 28 CFR § 36.401. See 28 CFR § 36.401.

     34.    The Petitioner believes that the Property was “altered” after January 26, 1993.

            The term “altered” or “alterations” includes, but is not limited to, remodeling,

            renovation, rehabilitation, historic restoration, changes or rearrangement of

            structural parts or elements, changes or rearrangement of the configuration of

            walls and changes in the counters, tables, or objects inside the Property.

     35.    Alternatively, if the Property was not designed and built to be occupied for the

            first time after January 26, 1993, the Property is deemed an existing facility, in

            which case there is an obligation to eliminate architectural barriers that affect

            persons with disabilities to the extent that the elimination of said barriers is

            “readily achievable”. 42 USC § 12182 (b) (2). The ADA establishes that, when

            evaluating whether the elimination of barriers




                                              19
Case 3:21-cv-01350-MEL
     [CERTIFIED TRANSLATION] Document 1-3 Filed 07/30/21 Page 20 of 37


              SJ2021CV03293 05/28/2021 08:07:58 pm Entry No. 1 Page 20 of 34




             is “readily achievable”, the factors to be considered include the “resources of

            the facility”, 42 USC § 12181 (9) (b), which include “the overall financial

            resources of any parent corporation or entity”, 28 CFR § 36.104. If the

            Respondents allege a lack of financial resources as an affirmative defense to

            excuse their noncompliance, the Petitioner does not accept said pretexts and

            intends to use discovery mechanisms in accordance with 28 C.F.R. § 36.104. §

            36.104.

           FAILURE TO ELIMINATE BARRIERS IN AN EXISTING FACILITY

     36.     The ADA specifically prohibits not eliminating the architectural barriers in

             existing facilities when such elimination is readily achievable. 42 USC §

             12182 (b) (2) (A) (iv); 28 C.F.R. § 36.104.

     37.     When an entity is able to demonstrate that the elimination of a barrier cannot

             be readily achieved, said entity must make sure that the goods, services,

             privileges, and accommodations are made available through alternative

             mechanisms, if said methods are readily achievable. § 12182 (b) (2) (A) (v).

     38.     In this regard, the Petitioner hereby alleges that the Respondents can readily

             eliminate the architectural barriers in the Property without much difficulty or

             expense, and that the Respondents violate the ADA by failing to eliminate said

             barriers when they could and can readily do so.

     39.     Alternatively, if it is not “readily achievable” for the Respondents to eliminate

             the architectural barriers, the Respondents violated the ADA by failing to

             make their services available through alternative methods that were readily

             achievable.




                                              20
Case 3:21-cv-01350-MEL
     [CERTIFIED TRANSLATION] Document 1-3 Filed 07/30/21 Page 21 of 37


              SJ2021CV03293 05/28/2021 08:07:58 pm Entry No. 1 Page 21 of 34




                              FAILURE TO DESIGN AND BUILD
                                AN ACCESSIBLE FACILITY

     40.    The Property was designed and built (or both) after January 26, 1992 –

            activating the accessibility requirements of Title III of the ADA and the

            regulations established by the U.S. Department of Justice.

     41.    The Respondents violated the ADA by designing and building (or both) the

            Property in a way that was not easily accessible to the public with physical

            disabilities, including the Petitioner, when doing so was structurally practical.

                   FAILURE TO MAKE AN ALTERED FACILITY ACCESSIBLE

     42.    The Petitioner believes, and therefore affirmatively alleges, that the Property

            has been altered (as the term “alteration” is defined by §§ 202.1, 202.3, 202.4)

            after January 26, 1992. 28 CFR §36.403; 49 CFR §37.43.

     43.    The ADA also requires that facilities be altered to be easily accessible to

            persons with disabilities to the maximum extent feasible. 42 U.S.C. §12183 (a)

            (2).

     44.    The Respondents altered the Property in a way that violated the ADA and that

            made it not easily accessible to the public with physical disabilities, including

            the Petitioner.

                              NON-STRUCTURAL BARRIERS:
                               POLICIES AND PROCEDURES

     45.    The ADA also requires making reasonable modifications in policies, practices,

            or procedures, when necessary to provide equal access to the services, goods,

            privileges, or accommodations to persons with disabilities, unless the entity is

            able to demonstrate that making said modifications would fundamentally alter

            the nature thereof. 42




                                             21
Case 3:21-cv-01350-MEL
     [CERTIFIED TRANSLATION] Document 1-3 Filed 07/30/21 Page 22 of 37


                  SJ2021CV03293 05/28/2021 08:07:58 pm Entry No. 1 Page 22 of 34




                USC§ 12182 (b)(2)(A) (ii).

     46.        In this regard, the Respondents violated the ADA by failing to make reasonable

                modifications to its policies, practices, or procedures at the Property, when said

                modifications are necessary (without fundamentally altering the nature of the

                place of public accommodation) to allow for equal access to their goods,

                services, facilities, or accommodations.

     47.        The Respondent [sic] alleges that the failure to eliminate barriers has been

                conscious, voluntary, and intentional because:

           a.   The barriers described herein are clearly visible and tend to be obvious, even to

                a casual observer;

           b.   The Respondents have never acknowledged that complying with the ADA is

                not a one-time effort, but rather a continuous obligation. They have refused to

                eliminate barriers or create alternatives to provide access;

           c.   The Respondents are the owners, lessors, lessees, and/or operators of the

                Property, and, as such, have control over the conditions of same on a day-to-

                day basis. The Respondents have had the financial means and capacity to carry

                out the necessary remediation of the accessibility barriers, but have never been

                interested in doing so.

           d.   Places of public accommodation must be accessible. There is a consequence if

                they are not: they can face a civil suit, whether initiated by the federal or state

                government, or by an individual. The Respondents decided to not be proactive

                and not provide access of their own accord. The Respondents assumed an

                attitude that can be described as “let us wait, let us not do anything, we’ll deal

                with it if anything happens”. The ADA was signed into law on July 26, 1990,

                by then-President George H.W. Bush after obtaining bipartisan approval. The

                Respondents




                                                  22
Case 3:21-cv-01350-MEL
     [CERTIFIED TRANSLATION] Document 1-3 Filed 07/30/21 Page 23 of 37


                SJ2021CV03293 05/28/2021 08:07:58 pm Entry No. 1 Page 23 of 34




              have no excuse for evading their legal obligations, and ignorance of the law

              does not exempt from its consequences and compliance.

         e.   The Respondents ignore the experiences of persons with disabilities who are

              not able to shop, make personal commercial transactions, visit the doctor, or

              enjoy themselves as the majority of the people do. There are many places

              throughout Puerto Rico, such as the Respondents’ Property, where the

              reasonable requirements of the ADA have been ignored. The ADA has the

              ability to make the difference between daily participation and daily exclusion.

         f.   The Respondents also ignore their own experiences in other places of public

              accommodation. In other words, the Respondents have seen that other places

              have accessible parking spaces, accessible restrooms, accessible counters, and

              many other elements that comply [with the standards], therefore they were and

              are aware of which are the types of access that should be provided to persons

              with disabilities.

         g.   The Respondents know that state and municipal permits are not the equivalent

              of compliance with the applicable accessibility laws. The Petitioner believes,

              and therefore alleges, that some of the municipal and state permits that the

              Respondents possess in order to operate their places of public accommodation

              expressly state that the permit to operate the business is not equivalent to a

              certification of compliance with the ADA.

         h.   It is believed, and therefore alleged, that there are certifications by architects,

              engineers, contractors, managers, and government employees certifying to the

              contrary (potentially fraudulently, subject to investigation and discovery) that

              the property




                                                23
Case 3:21-cv-01350-MEL
     [CERTIFIED TRANSLATION] Document 1-3 Filed 07/30/21 Page 24 of 37


                SJ2021CV03293 05/28/2021 08:07:58 pm Entry No. 1 Page 24 of 34




              complied with the ADA standards, in order to design, build, alter, or operate

              the Property in controversy in violation of the federal standards and regulations.

              The Respondents cannot rely on improper acts carried out by themselves or by

              third parties to justify the continuous operation of a place of public

              accommodation that violates the applicable federal standards and regulations.

         i.   The Respondents [sic] are not required to give written notice about the lack of

              accessibility. No other civil rights law allows businesses and places of public

              accommodation to discriminate without consequences until the victims of the

              discrimination notify the business that the law has been broken. If it were a

              requirement to give “notice” to the person who violates civil rights, the places

              of public accommodation would not be proactive in eliminating their

              architectural barriers. Instead, many would assume an attitude of “better to wait

              and deal with it if someone says and proves that they notified me about what is

              obviously wrong”.The ADA does not place the burden of action on the persons

              with disabilities that the law seeks to protect; the duty to be proactive rests with

              the place of public accommodation. If it were a requirement to notify the

              establishment, the cost of notifying and proving that notice was given would

              fall on the person with disabilities, who usually already has limited financial

              means. For example, a written notice by a layperson would probably result in

              an extensive litigation and controversy of facts regarding whether said notice

              was actually served on a person with authority (as if it were a summons),

              whether it was mailed to the correct address (in a context in which many

              businesses operate informally and without mailing addresses), or controversies

              regarding whether the document was actually sent




                                                24
Case 3:21-cv-01350-MEL
     [CERTIFIED TRANSLATION] Document 1-3 Filed 07/30/21 Page 25 of 37


                SJ2021CV03293 05/28/2021 08:07:58 pm Entry No. 1 Page 25 of 34




              (forcing the disabled person to assume the cost of mailing letters by certified

              mail) or interminable controversies regarding whether the notice was sufficient,

              specific, or complete. Persons with disabilities encounter multiple barriers

              every day or refrain from going places because they know that they are not

              accessible (contrary to a person who does not suffer traffic accidents every

              day); therefore, persons with disabilities, if they were required to provide

              “notice”, would have to invest a lot of money in sending letters by certified

              mail or hand-delivering said notices to persons with authority. Requiring

              notices would prevent the court from concentrating on the substance of the

              federal mandate —accessibility— and would place procedural obstacles on the

              exercising of rights.

         j.   Establishing and managing a business requires compliance with many laws and

              standards. That is the cost of doing business. Those who decide to operate a

              place of public accommodation must comply with the applicable laws from the

              very first day. Anyone who decides to operate a place of public accommodation

              that from day one excludes or limits access to persons with disabilities acts on

              their own accord. It is unthinkable that anyone would seek to delay (by

              requiring “notices”) or eliminate consequences for small or large enterprises

              that fail to pay taxes or that do not comply with the health and safety codes.

              Violating the rights of persons with disabilities must not be treated any

              differently. It is also unacceptable that “large” companies be required to comply

              while medium-size or small companies are not required to do so (or vice-versa),

              or that compliance be required depending on the place of incorporation of the

              company or on the national origin or race of the owners or shareholders of the

              company or business.

        k.    There are large federal initiatives to educate business owners




                                               25
Case 3:21-cv-01350-MEL
     [CERTIFIED TRANSLATION] Document 1-3 Filed 07/30/21 Page 26 of 37


              SJ2021CV03293 05/28/2021 08:07:58 pm Entry No. 1 Page 26 of 34




             about their obligations under the ADA, including the detailed website of the

             U.S. Department of Justice on ADA compliance (ada.gov), the direct line of

             the Department of Justice, extensive technical assistance materials provided

             by the Department of Justice, and the ten regional ADA centers financed by

             the federal government that provide in-depth resources and training in every

             state (adata.org). However, the Respondents have made no significant or

             proactive effort to comply with the ADA.

        l.   Based on their historic failure to comply and the nature of the non-compliance,

             the Petitioner believes that the Respondents have never acknowledged that the

             ADA accessibility standards are extremely important. Said standards are not

             minor details or demanding rules; instead, they are essential to guaranteeing

             true accessibility. A door that is too narrow can make the difference between

             entering or not entering a business. A restroom with too little space can make

             the difference between using or not using the restroom. This being said, it is

             important to point out that in order to impose liability under the ADA, the

             barrier does not need to fully exclude the Petitioner from entering or using the

             facility; it need only interfere with the Petitioner’s full and equal enjoyment of

             same. The ADAAG sets forth technical standards required for “full and equal

             enjoyment”. Therefore, if a barrier violates the ADAAG and said barrier is

             related to the Petitioner's disability, the Petitioner’s equal and full access is

             affected, which constitutes discrimination under the ADA.

        m.   We know that persons with disabilities experience a loss of dignity,

             independence, personality, and pride associated with segregation and the lack

             of access to public accommodations. Beyond the




                                              26
Case 3:21-cv-01350-MEL Document 1-3 Filed 07/30/21 Page 27 of 37
[CERTIFIED TRANSLATION]

            SJ2021CV03293 28/05/2021 08:07:58 pm Entry No. 1 Page 27 of 34




                 Price Tag: An Economic Analysis of Title III of the Americans with Disabilities

                 Act. 20 Kan. J. L. & Pub. Pol’y 58, 76, 85 (Fall 2010). Accessibility barriers

                 and segregation create social stigma and erode the self-esteem and

                 independence of persons with disabilities. Stacey Menzel Baker, Jonna Holland

                 and Carol Kaufman-Scarborough, How Consumers with Disabilities Perceive

                 “Welcome” in Retail Servicescapes: A Critical Incident Study. 23 J. of Serv.

                 Marketing 160,167-168 (2007). Barriers also cause persons with disabilities to

                 have an overall negative reaction to any retail environment, and to experience

                 fear and discomfort in said environment. Carol Kaufman-Scarborough,

                 Reasonable Access for Mobility-Disabled Persons is More Than Widening the

                 Door. 75 J. of Retailing 479, 483, 494 (1999). See also, The Routledge

                 Handbook of Designing Public Spaces for Young People: Processes. Practices

                 and Policies for Youth Inclusion (2020) (discussing the concept of access to a

                 substantially similar experience, beyond physical access, from a scientific

                 perspective); Moreno Llopis, Beatriz. La arquitectura al servicio de la

                 discapacidad funcional. Diss. 2020; Cruz, Vanessa Vianna, et al. "Accessibility

                 barriers for people with disabilities or reduced mobility: an integrative review."

                 Research, Society and Development 9.4 (2020): 168943053; Carol Kaufman-

                 Scarborough and Stacey Menzel Baker, Do People with Disabilities Believe the

                 ADA Has Served Their Consumer Interests?. 39 J. of Consumer Aff. 1, 24

                 (Summer 2005); Baker, Stacey Menzel, Jonna Holland, and Carol Kaufman-

                 Scarborough. How consumers with disabilities perceive “welcome” in retail

                 servicescapes: a critical incident study. Journal of Services Marketing (2007);

                 Realm, Public.




       27
Case 3:21-cv-01350-MEL Document 1-3 Filed 07/30/21 Page 28 of 37
  [CERTIFIED TRANSLATION]

              SJ2021CV03293 28/05/2021 08:07:58 pm Entry No. 1 Page 34 of 34




                   Experiential Accessibility. Inaccessibility in the web is also one of the great

                   modern challenges. Cohen, Alex H., Jorge E. Fresneda, and Rolph E.

                   Anderson. What Retailers Need To Understand About Website

                   Inaccessibility And Disabled Consumers: Challenges And Opportunities.

                   Journal of Consumer Affairs.

              n.   The Petitioner vehemently rejects arguments stating that enforcing the ADA

                   privately is not valid. The law must be observed regardless of whether the

                   place of public accommodation is a small, medium or large entity. The ADA

                   does not allow discriminating against some but not others. The prohibition

                   of discrimination is absolute and applies equally to everyone. No distinction

                   is made on the basis of the social or national origin, citizenship, or legal

                   residence of the person who operates a place of public accommodation,

                   whether it be a natural person or a legal entity. Complying with the physical

                   accessibility standards of the ADA requires that business owners take

                   proactive measures and, often, incur costs. Unfortunately, in this case,

                   neither the law nor the possibility of being faced with a civil action (by the

                   government or by a private party) was incentive enough to stimulate

                   voluntary compliance. The ADA was not enough to compel the Respondents

                   to comply with the law and the objective of this Petition is to ensure

                   compliance with what is mandated by law.

                                 SECOND CAUSE OF ACTION
                                REHABILITATION ACT OF 1973
                               (Section 504, 29 U.S.C. § 701 et seq.)

        48.        The preceding paragraphs are incorporated herein by reference.

        49.        Section 504 provides that: "No otherwise qualified individual with a

                   disability in the United States . . . shall, solely by reason of her or his

                   disability, be excluded from the participation in, be denied the benefits




                                                 28
Case 3:21-cv-01350-MEL Document 1-3 Filed 07/30/21 Page 29 of 37
  [CERTIFIED TRANSLATION]

              SJ2021CV03293 28/05/2021 08:07:58 pm Entry No. 1 Page 34 of 34




                   of, or be subjected to discrimination under any program or activity receiving

                   Federal financial assistance...” 29 U.S.C. § 794(a).

        50.       The Petitioner is eligible to receive the benefits and services that are made

                  available to the public at the Property.

        51.       The CARES Act authorizes the Small Business Administration (SBA) to

                  provide temporary financial assistance to eligible entities. Specifically,

                  Section 1102 of the CARES Act established the Paycheck Protection

                  Program (PPP) which broadened the SBA’s authority to guarantee loans

                  under section 7(a) of the Small Business Act. Section 1110 of the CARES

                  Act broadened the SBA’s authority to distribute loans known as Economic

                  Injury Disaster Loans (EIDL) under section 7(b)(2) of the Small Business

                  Act. In short, this means a loan may be taken that does not have to be repaid

                  later.

        52.       As a matter of course, the direct receipt of federal funding imposes some

                  obligations on the beneficiaries. For example, multiple civil rights laws

                  impose obligations on the people who receive federal funding. Among them,

                  Title VI of the Civil Rights Act of 1964 and, relevant herein, Section 504 of

                  the Rehabilitation Act, which prohibits discrimination based on disability.

                  Likewise, SBA regulations also prohibits entities who receive federal

                  funding from discriminating based on certain protected categories, including

                  disability. 13 C.F.R. Section 112, which implements Title VI; 13 C.F.R.

                  Section 117, which implements the Age Discrimination Act; of 13 C.F.R.

                  Section 113, Subpart A. By regulatory mandate, entities that receive federal

                  funding have an obligation to keep records and produce reports of




                                                29
Case 3:21-cv-01350-MEL Document 1-3 Filed 07/30/21 Page 30 of 37
  [CERTIFIED TRANSLATION]

              SJ2021CV03293 28/05/2021 08:07:58 pm Entry No. 1 Page 34 of 34




                  compliance with these requirements when requested; they must also allow

                  access to these records and to the premises. People may also file complaints

                  with the SBA and, if the investigation reflects noncomplaince with the

                  applicable requirements, the SBA may suspend bendefits, accelerate the

                  repayment of the debt, or require the return of federal funding.

        53.       The Petitioner is protected by Section 504 inasmuch as he is substantially

                  limited in his capacity of movement at the present time and also during July

                  29, 2020, and January 21, 2020.

        54.       During the last year, and up to the present, the Respondents and the Property

                  have received federal funding as part of its programs and activities. These

                  federal funds, among others, [sic] based on the funds from the

                  aforementioned CARES Act and PPP. It is believed, and shall be an object

                  of discovery, that federal funding has also been received from other sources

                  and federal programs.

        55.       During the past four years, and also during the last year, The Respondents

                  and the Property operated a program or activity that is covered by the

                  Rehabilitation Act and also received federal funding as part of their programs

                  and activities.

        56.       The Respondents’ behavior described in this allegation violated the

                  Petitioner’s rights under the Rehabilitation Act by excluding the Petitioner

                  or denying him benefits only because of his disability.

        57.       The Respondents’ behavior reveals a deliberate indifference towards the

                  rights of the Petitioner, inasmuch as the Respondents were aware or should

                  have been aware of their legal obligations under the




                                                30
Case 3:21-cv-01350-MEL Document 1-3 Filed 07/30/21 Page 31 of 37
  [CERTIFIED TRANSLATION]

                 SJ2021CV03293 28/05/2021 08:07:58 pm Entry No. 1 Page 34 of 34




                     federal legislation, yet they consciously ignored said obligations.

           58.       The Petitioner suffered emotional anguish and damages as a result of the

                     Defendants’ violation of the Rehabilitation Act.

           59.       Pursuant to Section 505 of the Rehabilitation Act, the Plaintiff is entitled to

                     compensation for damages, costs, litigation expenses, and attorney’s fees.

           60.       In accordance with the ruling of the United States Supreme Court in

                     Uzuegbunam v. Preczewski. 592 U.S.                     (2021), 2021 WL 850106

                     (March 8, 2021),6 we request nominal damages. In Uzuegbunam, ±a student

                     was banned from preaching at the University of Georgia campus when he

                     was a student. In an 8-1 decision in Uzuegbunam, the United States Supreme

                     Court concluded that Chike Uzuegbunam could claim nominal damage from

                     Georgia Gwinnett College, even when the university changed its

                     discriminatory policy in response to the civil action brought by him. Judge

                     Clarence Thomas penned the majority opinion and Justices Samuel Alito,

                     Stephen Breyer, Amy Coney Barret, Neil Gorsuch, Elena Kagan, Brett

                     Kavanaugh, and Sonia Sotomayor also joined in the majority opinion that

                     put an end to the practice of “tactical mootness” in the context of federal

                     causes of action. Said practice consists of alleging that a violation of rights

                     has become moot in order to then move for the dismissal of the entire suit.

                     Although a claim for injunctive relief can become moot if all of the

                     requirements of the doctrine and is exceptions are met, the claim can still

                     remain alive through a claim for




     6
         See https://www.siipremecourt.eov/opinionsQOptl1719-968 8ni9.pdf


                                                     31
Case 3:21-cv-01350-MEL Document 1-3 Filed 07/30/21 Page 32 of 37
  [CERTIFIED TRANSLATION]

             SJ2021CV03293 28/05/2021 08:07:58 pm Entry No. 1 Page 34 of 34




                 nominal damages. Nominal damages represent a concrete victory for the

                 claimant and also serve as the basis to determine who is the prevailing party

                 in the civil proceeding. In this case, nominal damages are requested under

                 (i) the ADA and (ii) the Rehabilitation Act.

                               LEGAL REMEDIES REQUESTED

     WHEREFORE, the Petitioner very respectfully requests the following legal remedies:

        A.    A declaratory judgment providing that the Respondents have breached the

              requirements of the Rehabilitation Act of 1973 and Title III of the ADA and the

              corresponding implementation regulations of the ADA; and that the Property is

              not fully accessible and able to be used independently by persons with limited

              mobility, such as the Petitioner.

        B.    A permanent statutory injunction in accordance with 42 USC § 12188 (a) (2)

              and 28 CFR § 36.504 (a) ordering the Respondents to take all the steps necessary

              to eliminate the architectural barriers described herein and so that their facilities

              comply with the requirements established in the ADA and its implementation

              regulations, so that their facilities are fully accessible to, and may be

              independently accessed by, persons with limited mobility, as well as an order

              stating that the court shall retain jurisdiction for a period to oversee that the

              Respondents comply with the relevant requirements of the ADA and to make

              sure that the Respondents have adopted and follow an institutional policy that

              actually makes them remain fully in compliance with the law.

       C. In the event that the Respondents continue with their discriminatory conditions,




                                                  32
Case 3:21-cv-01350-MEL Document 1-3 Filed 07/30/21 Page 33 of 37
  [CERTIFIED TRANSLATION]

             SJ2021CV03293 28/05/2021 08:07:58 pm Entry No. 1 Page 34 of 34




      it is hereby requested in accordance with 42 USC § 12188 (a) (2) and 28 CFR § 36.504

     that the closing and closure of the Property be ordered as a measure to stop the

     discriminatory conditions until the Respondents have irrefutably shown to the satisfaction

     of the court that the discrimination has been eliminated.

        D.     Compensatory damages pursuant to the Rehabilitation Act.

        E.     Nominal damages for the amount of one dollar for two complete and

               independent grounds: (1) violation to the Rehabilitation Act; (2) violation to

               the Americans with Disabilities Act. Nominal damages are not available for

               state-level causes of action but it it is available for federal-level causes of

               action, and nominal damages are requested expressly as established in

               Uzuegbunam v. Preczewski, 592 U.S. ___ (2021).

        F.     Payment of costs and litigation expenses, in accordance with 42 USC § 12205.

        G.     Payment of reasonable attorney’s fees not under the Puerto Rico Rules of Civil

               Procedure, but pursuant to the provisions of 42 U.S.C. § 12205 and 28 CFR §

               36,505[sic] and its binding and interpretative case authority; and

        H.     The provision of any other remedy that is just or proper, in law or equity, which

               has not been expressly requested but is warranted as a matter of law.



     RESPECTFULLY SUBMITTED

     Today, May 28, 2021.


                                             s/José Carlos Vélez Colón
                                             ATTY. JOSÉ CARLOS VÉLEZ COLÓN




                                                33
Case 3:21-cv-01350-MEL Document 1-3 Filed 07/30/21 Page 34 of 37
            Case 3:21-cv-01350-MEL Document 1-3 Filed 07/30/21 Page 35 of 37
[CERTIFIED TRANSLATION]
                       SJ2021cv03293 06/01/2021 09:07:08 a.m. Page 1 of 4
                 SJ2021CV03293 05/28/2021 08:29:43 p.m. Entry No. 2 Page 1 of 2


                                               COMMONWEALTH OF PUERTO RICO
                                                  COURT OF FIRST INSTANCE
                                               SUPERIOR COURT, SAN JUAN PART

                        DAVID FIGUEROA                        CIVIL CASE NO. SJ2021CV3293 [hw: (806)]

                                Petitioner

                                          v.                                     IN RE:
                                                                     PETITION FOR ORDER; DAMAGES
  BOARD OF HOMEOWNERS OF THE EXECUTIVE
       TOWER CONDOMINIUM, BANCO
           COOPERATIVO DE P.R.,
             JOHN DOES 1–100
               Respondent
                                                         SUMMONS

UNITED STATES OF AMERICA, SS
PRESIDENT OF THE UNITED STATES
COMMONWEALTH OF PUERTO RICO

TO:         BANCO COOPERATIVO DE P.R.


YOU ARE HEREBY summoned to file with the court a responsive allegation within 30 days after
being served with this summons, excluding the day of service. You must file your responsive
allegation through the Unified Case Management and Administration System (SUMAC, Spanish
acronym), which you can access by using the following electronic address:
https://unired.ramajudicial.pr, unless you are representing yourself, in which case you must file
your responsive allegation with the office of the court’s clerk. If you fail to file your responsive
allegation within said term, the court may hand down a default judgment against you and grant
the remedy requested in the complaint, or any other remedy, if the Court, in exercising its sound
discretion, believes that such remedy is warranted.


Name of Attorney:                     JOSÉ CARLOS VÉLEZ COLÓN (Sole Registry of Attorney’s: 18913)
Address:                              421 MUÑOZ RIVERA AVE., APT 1009, SAN JUAN,
                                      PUERTO RICO 00918-4015
                                      Tel: 7875999003
E-mail:                               JVELEZ@VELEZLAWGROUP.COM

Issued under my signature and the seal of the court, on [ink stamp: JUNE (illegible), 2021] .
 [round ink stamp: Commonwealth of Puerto Rico,                 [ink stamp: Griselda Rodríguez Collado
 General Court of Justice, Court of First Instance,
 Superior Court, San Juan Part (initialed) K089]
                                                                             Regional Clerk]
                                                                                     [illegible]
 [ink stamp: (illegible) Caguas                                                   Regional Clerk
 Office of (illegible)                                          [ink stamp: Awilda Calderón Rodríguez] [initialed]
 Received:        4/13/21
 Date:            (illegible signature)                       By:              Deputy Clerk
 Time:            2:59 pm]                       ]                           Name and Signature of
                                                                             the Deputy Court Clerk
          Case 3:21-cv-01350-MEL Document 1-3 Filed 07/30/21 Page 36 of 37
[CERTIFIED TRANSLATION: SUMMONS ADDRESSED TO BANCO COOPERATIVO]


                                PROOF OF SERVICE OF SUMMONS

                                     CASE NO.: SJ2021CV3293
                          David Figueroa v. Banco Cooperativo de P.R.

I, [hw: Jessica I. Díaz ]                    declare that I have the legal capacity pursuant to
Rule 4.3 of the Puerto Rico Rules of Civil Procedure and I certify under my signature and oath
that the service of the SUMMONS and PETITION (hereinafter “COMPLAINT”) in the above-
referenced case was done by me as indicated below:

1.        DATE of the service of summons:          [hw: June 30, 2021 10:30 am]                     .

2.`       PLACE or ADDRESS where the summons was delivered along with a copy of the
          Complaint. [hw: Metro Office Park
                       Lot 4, 1st Street, Suite 500
                       Guaynabo, P.R. 00968]

3.        MODE OR FORM OF DELIVERY I personally delivered a copy of this summons and a
          copy of the Complaint to the person indicated below, who said he/she is authorized to
          receive summons on behalf of the person named on the back, pursuant to Rule 4.4 of
          the Puerto Rico Rules of Civil Procedure.

4.        THE NAME OF THE AUTHORIZED PERSON WHO RECEIVED THE SUMMONS IS:
                           [hw: Maria L. Vila]
      [-Summons
      -Complaint
      -Appendix A, B, C were
      delivered to her]
5.      SIGNATURE OF THE SUMMONS SERVER:                         [illegible signature]
*************************************************************************************************************
                                 PROCESS SERVER’S STATEMENT
                                     (BEFORE THE COURT CLERK)

 I declare under penalty of perjury, in accordance with the laws of the Commonwealth of Puerto
 Rico, that the information provided above in the service of summons is true and correct.

 AND IN WITNESS WHEREOF, I sign this document in                               ,   Puerto   Rico,    today,
                  , 2021.


                                                                         Signature of Process Server

 Sworn to and signed before me by __________________________whose personal
 information is indicated above, whom I attest to having identified via the following personal
 information since I do not know him/her personally.

 In __________________________, Puerto Rico, on __________________, 2021.


                                                                      AUTHORIZED OFFICIAL
Case 3:21-cv-01350-MEL Document 1-3 Filed 07/30/21 Page 37 of 37
